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NATALIE MATTHEWS
AND NICK MATTHEWS                                                              PLAINTIFFS

vs.                     CASE NO.     'f: lid v A £3 -.TLJI
                                                                JURY DEMAND

HILTONINTERNATIONALOF                         .          ·         · ·                    l
PUERTO RICO, Inc. d/b/a HOTEL CARIDE HILTON;Th1s case assigned to District J !g'C~~:a::::::
AND IDLTON WORLDWIDE, INC.                  and to Magistrate Jug~IHf~~~~.::;C.4Woj~

Serve:
Hilton International of Puerto Rico, Inc.         Serve:
                                                  Hilton Worldwide, Inc.
via:
Jose Campos, Registered Agent                     via:
San Geronimo Grounds                              Corporation Service Company
1 San Geronimo Street                             300 Spring Building, Suite 900
Old San Juan, Puerto Rico 00906                   300 S. Spring St.
                                                  Little Rock, AR 72201
 and

PO Box 1872
San Juan, Puerto Rico 00906

 And

Corporation Service Company
2711 Centerville Rd. Ste 400
Wilmington, DE 19808


                                       COMPLAINT

       COMES NOW Plaintiffs, Natalie Matthews and Nick Matthews ("Plaintiffs"), by and

through his attorneys, Lauck Law Firm, P.A., and for their Complaint against Defendants Hilton



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International of Puerto Rico, Inc. ("Caribe Hilton") and Hilton Worldwide, Inc. ("Hilton

Worldwide"), states as follows:

        1.     Plaintiffs reside in Hot Spring County, Arkansas ..

       2.      At all relevant times, Defendant Caribe Hilton is a Delaware corporation doing

business in San Juan, Puerto Rico.

       3.      Defendant Hilton Worldwide is a Delaware corporation with its principle place of

business in Virginia and operates hotels, conducts business, and marketing in the State of

Arkansas where it has officers and agents for the usual and customary transaction of business,

within the boundaries of the Eastern District of Arkansas, which is also the location of its

registered agent for service of process in Arkansas.

       4.       At all relevant times, Defendant Caribe Hilton is continuously and systematically

promoted as a property that is part the Hilton Worldwide hotel chains, Hilton Worldwide

continuously and systematically represents that Caribe Hilton is one of its properties, and assists

travelers from Arkansas, including the Plaintiffs', in booking lodging at Caribe Hilton,

representing it as a safe destination for travelers.

        5.      At all relevant times, Defendant Caribe Hilton regularly and systematically

promoted its property to Arkansans, and assists travelers from Arkansas, including the Plaintiffs,

in booking lodging at Caribe Hilton, representing it as a safe destination for travelers.

        6.      Plaintiffs were marketed by Hilton Worldwide and planned their honeymoon stay

at Caribe Hilton through Hilton Worldwide.

        7.      This court is the proper jurisdiction and venue for this cause of action.




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       8.      Plaintiffs Natalie Matthews and Nick Matthews were business invitees and guests

at the Caribe Hilton and Hilton Worldwide on its San Geronimo Grounds in Old San Juan,

Puerto Rico on May 10, 2013, during their honeymoon.

       9.      While on the defendants' premises, Plaintiffs there for the mutual business benefit

of themselves and Defendants.

       10.     While on the Defendants' premises, Plaintiffs were never warned of undetectable

hazardous slippery substance conditions or along a sloped, smoothly paved concrete walkway

leading to a gazebo and garden area, where previous incidents of slips and falls had occurred.

       11.     The location of the walkway at issue was not adequately lit and it was dark.

       12.     The presence of slippery conditions and substances on the subject walkway

placed Natalie Matthews in peril.

       13.     Natalie Matthews did not know, or have reason to know, of the peril, hazardous

condition, inherent risk, hidden defects and irregular configuration of the walkway.

       14.      The defendant knew or should have known of the peril in which Natalie

Matthews was placed by the hazardous nature of the walkway, the presence of slippery substance

and water, poor visibility, no warning signs, no anti-slip strips and/or devices, no railings,

previous incidents of visitors slipping on the walkway, and common industry practices for hotel

walkways on slopes in locations where slippery conditions can be created.

       15.      The defendant failed to install handholds, warnings, anti-slip strips, or standard

safety measures at the subject walkway.

       16.      On May 10, 2013, as Natalie Matthews was walking down the walkway to the

gazebo and gardens at Caribe Hilton, she lost her footing as a result, in whole or in part, of

slickness of the walking surface, poor lighting, unsafe configuration of the walkway, a lack of



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anti-slip safety measures, the lack of handholds, and the failure of the defendant to provide any

type of warning or standard safety measures at the walkway in question.

       17.      Plaintiffs relied on the marketing of Defendants in deciding to book their stay at

the Defendants properties, based in part on the impression advertised that the facilities would

provide a safe premises for their honeymoon and would comply with industry standards and the

expectations that are promoted by Hilton Worldwide to potential guests and customers.

       18.      Defendants were aware of the hazards associated with the walkway where the

Natalie Matthews fell, but failed to correct or warn of the hazards.

       19.      Defendants' conduct in failing to correct the hazardous walkway conditions which

caused Natalie Matthews to fall was willful, wanton and shows an utter indifference to, or

conscious disregard of, the safety of others, especially in light of other falls of invitees on the

property at the location.

       20.      As a direct and proximate result of the negligence of Defendants which directly

and proximately caused her to fall, Natalie Matthews sustained severe injuries, including a

traumatic brain injury, shoulder injury, neck injury, right foot injury, right ankle injury and back

injury. She also sustained injury, aggravation and exacerbation to any infirmities that were

present in her back, making them worse, but also injuring other anatomy in her back. The

plaintiff sustained permanent injuries as a result of the fall and the injuries have affected her

function and capacity of her body as a whole.

        21.     Defendants were negligent in failing to warn of hazards related to its walkway, in

failing to correct defects in the configuration, structure and surface of the walkway, and in failing

to properly maintain its premises.




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       22.      Defendants' construction and maintenance of the walkway did not comply with

industry standards, the International Building Code, A.N.S.I. Standards, the Americans with

Disabilities Act and the Occupational Safety and Health Act.

       23.      Defendants' acts and omissions with respect to the walkway at issue constituted

negligence.

       24.      Hilton Worldwide is liable by virtue of its parent-subsidiary relationship with

Caribe Hilton and thus parent-subsidiary liability applies as to all allegations in this complaint.

       25.      The actual knowledge of Hilton Worldwide of the unwritten customs, practices,

directives and policies of its subsidiary company, Caribe Hilton, and Defendant Hilton

Worldwide's failure to stop those customs, practices, directives and policies constituted grossly

negligent, willful, wanton, malicious and/or intentional conduct which totally and utterly

disregarded the health and safety of Plaintiffs, thus warranting the imposition of punitive

damages under these circumstances, all pursuant to Ark. Code Ann. § 16-55-206.

       26.      Defendants' acts and omissions were a conscious disregard for the safety of

Plaintiffs and anyone else who was on the property.

        27.     As a result of the injuries sustained by Plaintiff, she has been caused to undergo

extensive medical treatment to the aforementioned parts of her body.

        28.     Plaintiff has suffered, and because such injuries are permanent in nature, will ever

in the future suffer pain, nervousness, and mental anguish, and the use, movement, and function

of his entire body has been severely impaired.

        29.      Plaintiff further contends that her capacity to work in the future has severely and

permanently diminished.

        30.     Plaintiff has suffered a decrease in her future wage earning capacity.



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        31.     Plaintiff also contends that she will sustain medical expenses in the future, the

exact amount of which cannot be determined at this time.

        32.     The defendant's actions were malicious in nature and disregarded the safety of

Plaintiffs

        33.     At all times relevant to this lawsuit, Plaintiff Nick Matthews was the lawfully

wedded spouse of the Plaintiff Natalie Matthews.

        34.     As a direct and proximate result, in whole or in part, of the foregoing negligent

acts and omissions on the part of Defendants, Plaintiff Nick Matthews was injured in one or

more of the following respects:

                a.     He lost the consortium, comfort, society, affection and services of his wife

                       Plaintiff Natalie Matthews;

                b.     He lost hours of work and pay, because he was required to assist Natalie

                       Matthews with her physical therapy and other aspects of mobility, care

                       and treatment.

        WHEREFORE, Plaintiffs pray that Judgment be granted in their favor and against

Defendants Hilton International of Puerto Rico, Inc. and Hilton Worldwide, Inc. in an amount

greater than $1,000,000.00, punitive damages in the amount of $1,000,000.00, for their Court

costs incurred herein, and for such other and further relief as this Court deems equitable and just.

PLAINTIFFS DEMAND TRIAL BY JURY ON ALL ISSUES




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